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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 19-0999V
                                        UNPUBLISHED


    DARLA NEELEY,                                           Chief Special Master Corcoran

                        Petitioner,                         Filed: December 4, 2020
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Pneumococcal
                                                            Conjugate Vaccine; Shoulder Injury
                       Respondent.                          Related to Vaccine Administration
                                                            (SIRVA)


Paul R. Brazil, Muller Brazil, LLP, Dresher, PA, for petitioner.

Sarah Christina Duncan, U.S. Department of Justice, Washington, DC, for respondent.

                                   RULING ON ENTITLEMENT1

       On July 12, 2019, Darla Neeley filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the “Vaccine
Act”). Petitioner alleges that she suffered a right shoulder injury related to vaccine
administration (“SIRVA”) as a result of a pneumococcal conjugate vaccine received on
November 3, 2017. Petition at 1. The case was assigned to the Special Processing Unit
of the Office of Special Masters.

       On December 2, 2020, Respondent filed his Rule 4(c) report in which he concedes
that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at
1. Specifically, Respondent agrees that “petitioner’s alleged injury is consistent with

1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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SIRVA as defined on the Vaccine Injury Table. Specifically, petitioner had no history of
pain, inflammation, or dysfunction of her right shoulder; pain occurred within 48 hours
after receipt of an intramuscular vaccination; pain was limited to the shoulder in which the
vaccine was administered; and no other condition or abnormality has been identified to
explain petitioner’s shoulder pain.” Id. at 6. Respondent further agrees that “based on the
medical records outlined [in the Rule 4(c) Report], petitioner suffered the residual effects
of her condition for more than six months. Therefore, based on the record as it now
stands, petitioner has satisfied all legal prerequisites for compensation under the Act.” Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                   s/Brian H. Corcoran
                                   Brian H. Corcoran
                                   Chief Special Master




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